Case 1:20-cv-22234-JEM Document 59 Entered on FLSD Docket 03/25/2021 Page 1 of 33




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                        Case No. 1:20-cv-22234-MARTINEZ-BECERRA

  LINCO ENTERPRISES, INC.                          1. Violation of the Securities Exchange
                                                      Act of 1934 15 U.S.C. § 78j(b); Rule
         Plaintiff,                                   10b-5; 17 C.F.R. § 240.10b-5;
                                                   2. Liability of Controlling Persons, 15
  v.                                                  U.S.C. § 78t;
                                                   3. Violation of the Florida's Securities
                                                      Investor Protection Act, Fla. Stat. §
  OLEG FIRER, EZ CAPITAL FUND, LLC,                   517.011 et seq.;
  STAR CAPITAL MANAGEMENT, LLC,                    4. Enforcement of Inspection Rights, Fla.
  and STAR EQUITIES, LLC,                             Stat. § 605.0411;
                                                   5. Fraudulent Misrepresentation;
        Defendants.                                6. Judicial Dissolution of EZ Capital Fund
  ___________________________________                 LLC, Fla. Stat. §§ 605.0702, 605.0703.

                              SECOND AMENDED COMPLAINT

         The plaintiff, Linco Enterprises, Inc. (“Linco”), sues the defendants, Oleg Firer, EZ Capital

  Fund, LLC (“EZ Capital”), Star Capital Management, LLC (“Star Capital”), and Star Equities,

  LLC (“Star Equities”).

                                           INTRODUCTION

         1.      Firer and his sidekick, Gary Gelman, ran an illicit fundraising and money

  management scheme in violation of the Federal and State securities laws.1

         2.      Firer induced Linco’s sole owner and principal, Sergey Khazarov, to invest through

  Linco in three closely held Florida companies. In a nine-month period between March 27 and

  November 9 2017, the unsophisticated plaintiff invested $1,693,000.00 in the three companies.

  The three companies were EZ Capital, Star Capital and Unified Advance, LLC (“Unified




  1Gelman is no longer being sued in this lawsuit because of a release (the “Release”) produced by
  defendants’ attorney in discovery.
Case 1:20-cv-22234-JEM Document 59 Entered on FLSD Docket 03/25/2021 Page 2 of 33




  Advance”).2

         3.      Firer, individually and as managing member of Star Equities, and Gelman lied that

  they had supposedly made substantial capital contributions to the three companies, when, in fact,

  they made no capital contributions. Firer and Gelman made other false and misleading statements

  and non-disclosures. They lied about the use that would be made of Linco’s contributions, the

  assets of the three companies in which they sold investments to Linco, and the value of the assets.

         4.      The investments sold to Linco were of two types: non-voting membership interests

  in the three companies and so-called investor’s or investment portfolios. As to the investment

  portfolios in EZ Capital’s Russian subsidiary, Linco has decided to no longer make these claims

  in this lawsuit. Instead, Linco seeks to recover $1,480,000 for the membership interests in the three

  companies and an investment in a domestic investment portfolio.

                                                PARTIES

         5.      Linco is a Florida corporation, having Sergey Khazarov, a Russian national, as its

  sole owner and president.

         6.      Firer is an individual residing and doing business within this judicial district.

         7.      Star Equities is a Florida limited liability company within this judicial district.

         8.      EZ Capital is a Florida limited liability company within this judicial district.

         9.      Star Capital is a Florida limited liability company within this district.

                                      JURISDICTION AND VENUE

         10.     Section 78aa of the Securities Exchange Act of 1934 grant this Court jurisdiction

  over claims asserted in Counts I and II. Additionally, pursuant to section 78aa, venue is proper in




  2 As the Release extinguished claims against Unified Advance, Linco has dropped this defendant
  too.
                                                 2
Case 1:20-cv-22234-JEM Document 59 Entered on FLSD Docket 03/25/2021 Page 3 of 33




  this Court, because the Defendants are found or are an inhabitant or transact business in this

  judicial district. This Court has supplemental jurisdiction over the state law claims asserted by

  Linco under section 1367 of Title 28.

                                   BACKGROUND ALLEGATIONS

  November 2016 to December 2017

         11.    In November 2016, Sergey Khazarov, then in his early twenties, met Gary Gelman,

  then in his mid-forties, as each traveled through the Charles De Gaulle Airport. While waiting to

  board connecting flights to New York, Gary Gelman introduced himself as the president of VG

  Financing, LLC (“VGF”) in Moscow, Russia.3

         12.    In December 2016, after Khazarov and Gelman had exchanged contact information,

  Gelman, while in Moscow, telephoned Khazarov to have dinner. Gelman said he would bring

  along some “friends,” one of which turned out to be Oleg Firer.

         13.    After dinner, Firer invited Khazarov and Gelman to Firer’s “Sky Apartments” in

  Moscow. Throughout the evening, in casual conversation, Khazarov was told that Firer and

  Gelman, long-time friends and associates, both from Miami, were Ukrainian born U.S. citizens

  who had invested together for years in Russia and the United States, and that Firer was the head

  of Net Element, Inc. (“Net Element”), a big technology company, and was about to become an

  ambassador to Russia from an island nation in the Caribbean. Gelman mentioned investment

  opportunities that Khazarov might wish to consider Gelman in the merchant cash advance

  business, a form of financing in which small lump-sum payments are given to small businesses in

  exchange for an agreed-upon percentage of future revenues or sales. Though Gelman did much of


  3
    In Russian, the VG Financing’s name is Общество с Ограниченной Ответственностью
  “Виджи Файнэнсинг,” which word-for-word transliterates as “Limited Liability Company VG
  Financing.”

                                                 3
Case 1:20-cv-22234-JEM Document 59 Entered on FLSD Docket 03/25/2021 Page 4 of 33




  the talking, Firer listened, chimed in at times, and contradicted nothing Gelman said.

         14.    Before Gelman left Moscow in December 2016, he specifically mentioned the

  “merchant cash advance” business of VGF and the opportunity for Khazarov to invest in this

  business.

         15.    Gelman returned to Moscow in January 2017 and invited Khazarov for more

  “wining and dining” in Moscow. There, Firer and Gelman met with Khazarov alone and also with

  others, including Roman Khomenko from Ukraine and his brother Oleg, also Ukrainian born yet

  living in Grenada. Firer invited Khazarov and Gelman to Firer’s “Sky Apartments” for a

  presentation about the creation of a casino in Grenada’s embassy soon coming to Moscow.

         16.    Before Gelman left Moscow, he suggested Khazarov visit him and Firer one day in

  the United States. Gelman’s discussions with Khazarov about business investments continued by

  phone and text after Gelman returned to Miami. In the phone calls, Gelman emphasized more than

  once the “synergy” between investments Khazarov could make with Gelman and a subsidiary of

  Net Element by the name of Unified Payments, which provided transaction processing to

  merchants around the world.

         17.    In late February 2017, Khazarov confided in Gelman that he was very excited to be

  coming to the United States to discuss possible investments with him and Firer. Gelman told

  Khazarov that if he really planned on investing, then it would be a good idea to prepare himself to

  do so by creating an investment vehicle. When Khazarov asked what this entailed, Gelman said

  “not to worry,” he would help Khazarov complete the process. In this manner, about two weeks

  before Khazarov left for the United States, Gelman helped Khazarov establish Linco, the Florida

  corporation through which Khazarov would invest substantial sums of money.




                                                  4
Case 1:20-cv-22234-JEM Document 59 Entered on FLSD Docket 03/25/2021 Page 5 of 33




                           Investments in EZ Capital and Unified Advance

         18.     In March 2017, Khazarov traveled to the United States. Before this trip, Khazarov

  had never considered investing in the United States, nor did he know anything about “unregistered

  securities” or even heard the phrase.

         19.     In March 2017, over the course of several days, Khazarov had conversations face-

  to-face with Firer and Gelman in New York and Florida. To Khazarov, both appeared to be

  knowledgeable entrepreneurs with expertise in raising capital by the sale of stock. Gelman was

  twice the age of Khazarov and Firer was in his late thirties. Firer mentioned that he had bought,

  sold, and grew various businesses and that he was currently an investor in and CEO/Director of

  Net Element, a public company traded on the NASDAQ Exchange. Gelman also claimed expertise

  in growing businesses, stating that the “merchant cash advance” business of VGF was one of his

  and Firer’s current projects.

         20.     On or about March 19, 2017, while sitting at a café in the Little Odessa

  neighborhood in Brooklyn, New York, in the presence of Firer, Gelman discussed the investment

  opportunities that he and Firer had for Khazarov.

         21.     Gelman described EZ Capital as a holding company that owned VGF, a provider of

  loans to small businesses in Moscow. He described Unified Advance as a Florida company that

  issued credit cards to merchants for cash advances. Both Unified Advance and VGF were then

  allegedly operating and doing business.

         22.     Gelman stated that for $300,000 Khazarov could obtain a five percent (5%) interest

  in EZ Capital, then equally owned by Gelman and Firer.

         23.     For another $300,000, Khazarov could obtain a ten percent (10%) interest in

  Unified Advance, also then equally owned by Gelman and Firer.


                                                  5
Case 1:20-cv-22234-JEM Document 59 Entered on FLSD Docket 03/25/2021 Page 6 of 33




         24.     Gelman clarified there were no other investors in EZ Capital and Unified Advance.

         25.     Gelman concluded, that by making two investments, Khazarov would increase his

  opportunity for success, as at least one of the companies would likely go public or be sold to a

  much larger company.

         26.     According to Gelman, bringing a company public or selling off its business required

  a special talent that he and definitely Firer supposedly had.

         27.     After Gelman had described the investments offered, Firer suggested to Khazarov,

  “why don’t you talk to Gary some more and then let us know if you are still interested.”

         28.     Everyone then traveled to Miami, Florida. While there, Khazarov directed

  additional questions to Gelman just as Firer had suggested. In three separate conversations on

  Lincoln Road and in the Bal Harbour Shops over two consecutive days in March, 2017, Gelman

  provided the following information in response to questions asked by Khazarov.

         29.     Khazarov asked Gelman about the total contributions of Firer and Gelman to EZ

  Capital and Unified Advance. Gelman answered, “millions of dollars” have been contributed.

  When Khazarov asked for what purpose, Gelman stated, that he and Firer had paid for all the

  necessary infrastructure of VGF and Unified Advance and initial working capital.

         30.     When Khazarov asked about financial information, Gelman stated that VGF, the

  subsidiary of EZ Capital, was already making loans to merchants and that Gelman and Firer

  expected annual sales therefrom to be not less than $2 million in two to three years. Gelman also

  stated that Unified Advance was issuing cards to merchants in the United States and had done

  about $200,000 in business.

         31.     Khazarov asked rhetorically, if the companies were already in business, why did

  Gelman and Firer want $600,000 from Khazarov. Gelman stated that they wanted to use


                                                   6
Case 1:20-cv-22234-JEM Document 59 Entered on FLSD Docket 03/25/2021 Page 7 of 33




  Khazarov’s capital to “grow business” and then exit in three to four years after distributing net

  profit annually. Gelman said that Khazarov’s capital would develop additional banking

  relationships for VGF and expand its operations outside Moscow. For Unified Payments,

  Khazarov’s capital would be used to “scale the business” and launch other financial products

  besides the credit for merchants.

         32.     The oral representations in Brooklyn and Miami about EZ Capital Fund and Unified

  Advance were false for the following reasons:

            a.   Another person was also an owner of EZ Capital and Unified Advance. According

  to Linco’s investigation for this action, Roman Khomenko contributed $300,000 to EZ Capital and

  $150,000 to Unified Advance in 2016. Even though Gelman and Firer introduced Khazarov to

  Roman Khomenko, they never disclosed that Khomenko had contributed $300,000 for a thirteen

  and one-third percent (13.3%) interest in EZ Capital and $150,000 for a ten percent (10%) interest

  in Unified Advance.

            b. Instead of “millions of dollars,” Firer and Gelman contributed no cash or negligible

  cash to EZ Capital and Unified Advance.




                                                      Unified Advance filed no tax returns for 2017-

  18.

  which is permitted only in the case of a single member LLC. See IRS Publication 3402 (rev. Mar.

  2020), https://www.irs.gov/forms-pubs/about-publication-3402.




                                                  7
Case 1:20-cv-22234-JEM Document 59 Entered on FLSD Docket 03/25/2021 Page 8 of 33




            c.   Besides contributing nothing to EZ Capital and Unified Advance, Firer and Gelman

  drained these companies in 2017. Upon information and belief,




                                                                              Meanwhile,




            d. Gelman and Firer never intended a profitable “exit” for Khazarov because they

  knew his and Khomenko’s capital contributions was the only capital that Gelman and Firer would

  use to operate EZ Capital and Unified Advance.

         33.     Without knowledge that the cash contributions of Firer and Gelman were non-

  existent, that Roman Khomenko’s interest in the companies and capital contributions had been

  concealed, and that VGF and Unified Advance had nominal assets, Khazarov agreed to invest.

         34.     Gelman asked Khazarov to meet him and Firer at the executive offices of Net

  Element in Sunny Isles, Florida on or about noon of March 27, 2017. Upon arrival, Khazarov

  found Gelman and Firer waiting for him. Gelman stated that the investment documents had been

  prepared by Firer and would be printed out for execution. Once printed, the operating agreements

  were first signed by Gelman and Firer, who then handed the documents to Khazarov with a pen

  and pointed out where Khazarov should sign.

         35.     Before doing so, Khazarov asked if the documents made clear his interest in the


                                                   8
Case 1:20-cv-22234-JEM Document 59 Entered on FLSD Docket 03/25/2021 Page 9 of 33




  companies. Firer pointed out the one-page chart in Exhibit A to each operating agreement that set

  forth each member’s ownership interest. In the operating agreement for EZ Capital, Khazarov saw

  on this page that Firer, through Star Equities, and Gelman, personally, each contributed $1,500,000

  to EZ Capital for a forty-seven and one-half percent (47.5%) interest in the company and that

  Linco must contribute $300,000 for a five percent (5%) interest. In the operating agreement for

  Unified Advance, Khazarov read that Firer, through Star Equities, and Gelman, personally, each

  contributed $750,000 to Unified Advance for a forty-five percent (45%) interest in the company

  and that Linco must contribute $300,000 for a ten percent (10%) interest. Looking at the chart,

  Khazarov asked Firer what is “Star Equities,” to which Firer responded, it was a company through

  which he made investments likes this. Satisfied, Khazarov signed the operating agreements, the

  parties shook hands, and Firer and Gelman began calling Khazarov their “partner.” 4

         36.    In fact, the operating agreements that Firer had Khazarov signed were false. Just

  like Gelman’s oral representation that “millions of dollars” had been contributed by him and Firer,

  the exhibits falsely represented total contributions to these companies by Star Equities and Gelman

  of $4 million. In fact, Star Equities and Gelman contributed no cash or negligible cash to these

  companies and nothing else remotely worth $4 million. The documents misstate who the owners

  were by omitting Roman Khomenko’s 10% interest in Unified Advance and 13.3% interest in EZ

  Capital.

         37.    Nothing contradicted or corrected any of the oral or written misrepresentations

  before Khazarov left Miami. Upon return to Moscow, Khazarov, on behalf of Linco, wired




  4
    According to the operating agreements and the manner in which EZ Capital and Unified Advance
  were operated, Linco was a minority member without any say in management, and, therefore,
  dependent upon Star Equities and Gelman, the voting members with the exclusive right to manage
  these companies.
                                                  9
Case 1:20-cv-22234-JEM Document 59 Entered on FLSD Docket 03/25/2021 Page 10 of 33




   $300,000 to Unified Advance on March 29, 2017 and $300,000 to EZ Capital the next day.

          38.    Khazarov would not have invested in either company if he knew the truth about the

   owners, the contribution each owner made, the assets of the companies, and the true use to be made

   of Linco’s contribution.

                     Additional Investments in Unified Advance and EZ Capital

          39.    On or about April 6, 2017, Firer became Grenada’s first ambassador to Russia.

   When Khazarov congratulated Firer on his appointment, Firer congratulated Khazarov on having

   become his “partner.” Firer orally represented to Khazarov that he believed his appointment would

   benefit VGF and Unified Advance.

          40.    After Firer’s appointment, Gelman told Khazarov that VGF was having such

   success that there were more loans “in the pipeline” than VGF could fund and that VGF would

   soon cement a relationship with Russia’s largest bank, Sberbank. According to Gelman, VGF’s

   growth was about to “explode.”

          41.    In April 2017, still believing Star Equities and Gelman had contributed $1.5 million

   of their own funds to Unified Advance, Khazarov paid $100,000 to Unified Advance for an

   investment portfolio of cash advances to merchants to whom Unified Advances issued credit cards.

          42.    If Khazarov knew the truth about the contributions of Star Equities and Gelman and

   the fact that other than contributions by Linco and Khomenko Unified Advance had no assets, he

   would not have made this $100,000 investment for Linco.

          43.    In the second quarter of 2017, while Firer was in Moscow, Khazarov mentioned the

   growth reported by Gelman, of which Firer said he was aware, and Khazarov then asked if Firer

   and Gelman would be willing to reduce their interests in EZ Capital so Linco could obtain another

   five percent for another $300,000 contribution. Firer responded, “I want everyone to be happy, so


                                                  10
Case 1:20-cv-22234-JEM Document 59 Entered on FLSD Docket 03/25/2021 Page 11 of 33




   why not?”

          44.     During the last week of July 2017, in the kitchen of Gelman’s “Sky Apartments” in

   Moscow, Firer produced for signature a three-page document, also prepared by him, which was an

   amendment to the operating agreement for EZ Capital (the “Amendment for EZ Capital”). Once

   again, the document prepared by Firer falsely stated that he, through Star Equities, and Gelman

   each supposedly contributed $1.5 million to EZ Capital. Khazarov saw the document also stated

   that Linco contributed $600,000 for a ten (10%) interest in the Company with a forty-five percent

   (45%) interest for Star Equities and Gelman. No prior representations or omissions were disclosed

   before the Amendment of EZ Capital was signed.

          45.     On July 26, 2017, Khazarov, on behalf of Linco, wired another $300,000.

   Previously, Gelman had identified the payee to which Khazarov was supposed to make payment.

   In this instance, Firer told Khazarov to pay Star Equities for the additional five percent.

                                       Investment in Star Capital

          46.     In July 2017, Firer and Gelman reverted to having discussions in front of Khazarov

   about the opportunities in Grenada. During a trip that month to Kazakhstan, Gelman told Khazarov

   that Firer wanted Khazarov to be the “head” of the Grenadian Trade House affiliated with

   Grenada’s Embassy in Moscow.

          47.     Later in this trip, at a poolside bar in the Ritz Carlton Hotel located in Astana,

   Kazakhstan, Firer and Gelman had a conversation with the Khomenko brothers about Grenada and

   a business entity that the parties referred to as “Star Development.” In Khazarov’s presence, Firer

   and Gelman led a conversation in which they made clear that another business entity referred to as

   “Star Capital” would own fifty percent of Star Development and the Khomenko brothers would

   own the other fifty percent. According to the conversation, Star Development would purchase the


                                                    11
Case 1:20-cv-22234-JEM Document 59 Entered on FLSD Docket 03/25/2021 Page 12 of 33




   land in Grenada where Star Capital would build a hotel.

          48.     In September 2017, Firer invited Khazarov to meet with him and Gelman at

   Grenada’s Embassy located on Moscow’s Embassy Row. 5

          49.     At this meeting, Firer and Gelman “pitched” for Khazarov’s investment in Grenada.

   Gelman described “Project Boeuf” as their plan to develop a small hotel, on a 3.67-acre parcel

   located at Parc a Boeuf, on Groom’s Beach, in the St. George Parish, Grenada. Gelman stated that

   they would pool their capital and use a portion to obtain fifty percent of Star Development and

   what remained to obtain financing. Firer said the construction financing would come from either

   a bank or Grenada’s Citizenship by Investment Program (“CBI Program”) or an investor. Firer and

   Gelman both represented that once the hotel was built, Star Capital would make millions by

   managing the hotel or selling it to another investor.

          50.     In the following weeks, Firer and Gelman pretended to grow closer to Khazarov.

   For example, they attended his birthday party in Moscow with their wives and they simultaneously

   disclosed to Khazarov information that seemed sensitive. For example, as Firer solicited

   Khazarov’s investment in Grenada, he revealed information about Grenada’s mission in Moscow,

   and asked Khazarov to represent Firer’s interest as shareholder of Grenada’s Trade House in

   Moscow. Similarly, Gelman confided in Khazarov that he was about to fire the CEO of VGF.

          51.     In October 2017, Firer sent Khazarov an official invitation to travel to Grenada the

   following month for the “New Dawn” economic forum. Khazarov decided he would go.

          52.     While there in November 2017, Gelman and Oleg Khomenko, with the knowledge

   of Firer who saw them leave for this purpose, drove Khazarov to Groom’s Beach and other real




   5Time and again, Defendant Firer used the Grenadian Embassy in Moscow as a front to advance
   his personal affairs and business.
                                                12
Case 1:20-cv-22234-JEM Document 59 Entered on FLSD Docket 03/25/2021 Page 13 of 33




   estate supposedly under consideration for future development by Star Development.

          53.    Back at the hotel in Grenada, Gelman laid out a proposal that he and Firer were

   making to Khazarov in Grenada. According to Gelman, Khazarov was not to discuss the proposal

   with the Khomenkos. Gelman said details about this investment, like Khazarov’s previous

   investments, were considered confidential by Firer and Gelman and not to be shared with the

   Khomenkos. Gelman’s offer went as follows:

          54.    Consistent with the discussions in July 2017 in Kazakhstan, Gelman repeated the

   relationship between Star Capital and Star Development. Star Development owned the land, and

   Star Capital owned fifty percent of Star Development. Gelman stated it would be better to invest

   in Star Capital than investing or lending to Star Development. By investing with Star Capital,

   Khazarov would be part of a company that held an interest in Star Development equal to the

   collective interests of the Khomenko brothers in Star Development. In addition, Star Capital, not

   Star Development, would arrange financing to build the hotel, and, therefore, earn more profits

   from Project Boeuf.

          55.    Gelman stated that the profit forecast had recently increased because the land on

   Groom’s Beach (the “Land”) was acquired for only $3,200,000. According to Gelman, the Land

   was worth $5,000,000, the price Star Development had expected to pay. According to Gelman, the

   difference of $1,800,000 meant more profit awaited Star Capital. Alternatively, the price reduction

   meant a more than sufficient reserve to obtain financing from a bank or the CBI Program.

          56.    The oral representations about the relationship between Star Capital and Star

   Development and the alleged purchase of the land by Star Development were all false.

          57.    Star Capital was not then, nor did Gelman or Firer ever intend for it to become a

   fifty percent member of Star Development, and, therefore, Star Capital did not have any interest


                                                   13
Case 1:20-cv-22234-JEM Document 59 Entered on FLSD Docket 03/25/2021 Page 14 of 33




   in the land, either directly or indirectly.

           58.     In fact, Star Development had not acquired the land in 2017 for $3,200,000 million.

   According to the real estate records in Grenada, Star Development would not acquire the land until

   January 2018 when Star Development paid only $1,450,000 to Hopkin Limited, another fact never

   revealed to Khazarov.

           59.     Khazarov asked the cost for him to invest in Star Capital. Gelman said it would cost

   Khazarov $464,000 plus one-third of Firer’s expenses for the economic forum.

           60.     When Khazarov asked why he must pay expenses unrelated to Star Capital, Gelman

   interrupted, stating partners must support each other and this would be required of Khazarov to

   make an investment in Star Capital. Khazarov acquiesced, and Gelman stated upon their return to

   Miami they would meet with Firer to sign an investment document for Star Capital.

           61.     Back in Miami, the parties met in Net Element’s office in Sunny Isles. As the

   meeting commenced, Firer confirmed that he had spoken with Gelman about the conversations in

   Grenada and understood Khazarov wished to proceed. Khazarov confirmed that he did.

           62.     Firer again provided a document he had already prepared. On this occasion, the

   document entitled Amendment No. 1 to the Limited Liability Company Agreement of Star Capital

   Management, LLC (the “Amendment for Star Capital”) was only three pages. 6

           63.     Khazarov reviewed the document for the contributions and percentage interests for

   each member. According to the Amendment for Star Capital, Khazarov received a 16.6 percent

   interest for $464,000. Firer, through Star Equities, and Gelman each received a 42.5 percent




   6
     According to discovery responses, the Amendment to Star Capital refers to an operating
   agreement that does not exist. According to Florida law and the manner in which this company
   was operated, Linco was a minority member at all times dependent upon Star Equities and Gelman
   to achieve profits for all members.
                                                 14
Case 1:20-cv-22234-JEM Document 59 Entered on FLSD Docket 03/25/2021 Page 15 of 33




   interest for a capital contribution by each of $1,158,000.

          64.     The Amendment for Star Capital was false. Star Equites and Gelman made no

   capital contributions to Star Capital.

          65.     According to an operating agreement for Star Development secured during Linco’s

   investigation for this lawsuit, Firer, individually, and Gelman, individually, each contributed

   $1,000 to obtain for a twenty percent (20%) interest for himself in Star Development. Neither Firer

   nor Gelman ever disclosed their concurrent interests in Star Development and Star Capital.

          66.     Unaware that the capital contributions by Star Equities and Gelman according to

   the Amendment for Star Capital were falsely stated, that Star Capital owned no interest in Star

   Development, that Firer and Gelman had a conflict of interest, or the truth about the land

   acquisition, Khazarov executed the Amendment for Star Capital on behalf of Linco.

          67.     If Khazarov had known Star Equities and Gelman made no investments in Star

   Capital, that Star Capital had no ownership interest in Star Development, that Firer and Gelman

   had invested in Star Development, that Star Development had not purchased the land or that it

   would not purchase the land until January 2018 for only $1.450 million, and that Star Capital’s

   only asset was Linco’s capital contribution, Khazarov would not have executed the Star Capital

   Amendment.

          68.     Firer told Khazarov that his wire to Star Equities for Linco’s interest should be for

   the amount of $480,000 and sent to Star Equities. From what Khazarov saw in Grenada, the events

   at the economic forum cost much less than $16,000.

          69.     Once back in Moscow, on November 19, 2017, Khazarov wired $480,000 for Linco

   to Star Equities.

          70.     Linco’s contribution was never turned over to Star Capital. Instead, Firer


                                                   15
Case 1:20-cv-22234-JEM Document 59 Entered on FLSD Docket 03/25/2021 Page 16 of 33




   commingled in a financial account of Star Equities that he controlled all of the contributions from

   Linco, the Khomenkos, and another investor in Star Development.

          71.     As calendar year 2017 came to an end, Linco had spent $1,480,000 million for all

   of its investments in Star Capital, Unified Advance, and EZ Capital (collectively, the “Closely

   Held Companies”). The investments were valueless because none of the Closely Held Companies

   received the capital contributions misrepresented by Firer and Gelman, the Closely Held

   Companies had no assets of any significance besides the contributions made by Linco and

   Khomenko. The plan of Firer and Gelman was to use contributions of the Closely Held Companies

   for the benefit of themselves and their affiliates without any regard for Linco’s interest.

   First Quarter of 2018 until December 2019

          72.     Beginning in the first quarter of 2018, after the CEO of VGF resigned, Gelman

   asked Khazarov to become the acting CEO for a monthly salary of $1,000. After agreeing,

   Khazarov, discovered he was merely a figurehead and “CEO” in name only. Gelman, as VGF’s

   president, reported to Firer who called the shots. Khazarov was expected to perform random

   assignments by Gelman, who asked for help with either mundane matters or when Gelman

   announced a “crisis” due to a problem in VGF’s office that arose from his neglect or provocation.

          73.     In May 2018, Khazarov received a report that VGF’s net profits in 2017 was only

   $50,000, which report contradicted an announcement by Gelman in December 2017 that VGF had

   net profits for 2017 that would be divided among Gelman, Firer, Khazarov. After ignoring

   Khazarov’s multiple requests for a year-end report on the results of VGF’s operations in 2017,

   Gelman told Khazarov he would not receive any dividends because the profits were being reduced

   by eighteen percent VAT and other unanticipated costs. Khazarov asked Gelman how this could

   happen after Gelman previously announced dividends and never mentioned VAT before Linco


                                                    16
Case 1:20-cv-22234-JEM Document 59 Entered on FLSD Docket 03/25/2021 Page 17 of 33




   invested. Gelman responded that the situation was “beyond his control” and that partners must

   “share problems as well as profits.” Gelman also mentioned that he and Firer had contributed

   millions of dollars to EZ Capital already and that Gelman was himself still “investing” money

   every month to cover for the expense of international travel.

          74.     In the last quarter of 2018, Khazarov questioned Gelman about his previous oral

   representations that VGF’s business had grown in 2017. Khazarov stated that he saw no evidence

   of any growth. Gelman assured Khazarov that all was fine and only a little more time was needed

   for Khazarov to see results.

          75.     In the last quarter of 2018, Khazarov asked for more compensation or to be relieved

   of the CEO position, which was not a real job but merely an annoyance, to which Gelman

   responded he would discuss with Firer.

                       Linco’s Liquidation of Investments in Unified Advance

          76.     By the second quarter of 2019, having received no specific information about the

   investments, Khazarov was concerned about the investment of $300,000 in Unified Advance, a

   company that Khazarov has since learned that Gelman and Star Equities permitted to be

   administratively dissolved in 2018 without the knowledge of or any notice to Khazarov.

          77.     Khazarov asked Firer, who supposedly had $750,000 invested in Unified Advance,

   if he would purchase Khazarov’s five percent interest in the company. Firer revealed that he was

   supposedly “retired” and not interested in new investments.

          78.     In May 2019, Khazarov requested that Gelman liquidate his portfolio investment in

   Unified Advance. In response, Gelman made his first negative report about the Closely Held

   Companies. Gelman said to Khazarov that Unified Advance was “not profitable” and had

   “troubles.” Gelman added that he could probably liquidate Linco’s portfolio investment quickly


                                                   17
Case 1:20-cv-22234-JEM Document 59 Entered on FLSD Docket 03/25/2021 Page 18 of 33




   and provide Linco with $150,000. Khazarov asked Gelman to go ahead and do that.

          79.     In June 2019, after a dinner party with Firer, Gelman, and others, as Khazarov left

   the party, Gelman asked Khazarov to step inside Firer’s diplomatic vehicle to sign a document to

   secure a return of $150,000 for his portfolio investment in Unified Advance. Linco signed the

   document without reading it and then misplaced his copy. 7 This document, however, was later

   produced by defendants in response to Linco’s first request for production of documents during

   this lawsuit. After receiving legal advice and counsel about the meaning of this document, which

   communication is protected by the attorney-client privilege, Linco chooses not to assert claims

   against Unified Advance and Gelman in this amended pleading.

                           Linco’s Liquidation of Investment in Star Capital

          80.     By the third quarter of 2019, after specific questions of Gelman went unanswered

   for many months, Khazarov still knew nothing specific about development of the hotel nearly two

   years after the investment. Neither Firer nor Gelman shared any specific information about

   financing through the CBI Program or a bank, licensing from either Hilton or another company to

   build a hotel, or construction permitting.

          81.     Believing that Firer might be more willing to purchase Linco’s interest in Star

   Capital as he had been told that entity held a fifty percent interest in valuable Land, Khazarov

   decided to approach Firer about a buyout, Firer repeated that he was “retired.” This prompted

   Khazarov to ask Firer when would the hotel be built. In response, Firer stated that the timeline was

   up to the Khomenkos, whom he understood were going forward with Project Boeuf. A short time

   later Gelman said he expected good news soon as a wealthy Canadian was interested in the land.




   7In Plaintiff’s pre-suit communications with Unified Advance, Plaintiff requested a copy of this
   agreement, which Unified Advance refused to provide.
                                                 18
Case 1:20-cv-22234-JEM Document 59 Entered on FLSD Docket 03/25/2021 Page 19 of 33




          82.      In August 2019, Gelman texted Khazarov that Star Capital had agreed to discount

   its interest in Project Boeuf to Roman Khomenko a/k/a “Roma.” Not long thereafter, Gelman and

   Firer met Khazarov in a restaurant in Moscow to explain what Star Capital would do with its

   investment in Star Development and Project Boeuf. There they made the following statements:

              a.   Gelman stated that the Canadian investor made a low-ball offer for the land, which

   the Khomenko brothers would not accept, creating a deadlock for Star Development between the

   fifty percent interest of Star Capital and the fifty percent interest of the Khomenko brothers;

              b. The Khomenkos offered to buy Star Capital’s interest in Project Boeuf, which Firer

   and Gelman accepted on behalf of Star Capital, requiring the members to share a loss;

              c.   Khazarov asked his “partners” why they would permit the Khomenkos to force a

   loss upon Star Capital only to walk away from the plan to construct the hotel;

              d. Gelman said that Oleg Khomenko was under criminal investigation. According to

   Firer, the investigation made it best for all of us to accept a loss and move on with life.

          83.      These statements were false and misleading for the following reasons:

              a.   Upon information and belief, i.e., an operating agreement for Star Development

   provided by Leon Goldstein and another operating agreement provided by the Khomenko brothers,

   Star Capital was never a member of Star Development, a fact concealed by Firer;

              b. Upon information and belief, including the operating agreements for Star

   Development obtained by Linco, the voting interests of the members were such that there could

   be no deadlock in Star Development based upon a disagreement between the Khomenko brothers,

   on the one hand, and Firer and Gelman, on the other hand.

              c.   The Khomenkos did not buy out Star Capital’s interest in Project Boeuf. Instead,

   Gelman and Firer decided on their own to cancel Linco’s interest in Star Capital to get Khazarov


                                                    19
Case 1:20-cv-22234-JEM Document 59 Entered on FLSD Docket 03/25/2021 Page 20 of 33




   “out of their hair.” The Khomenkos are neutral about Star Capital and the fraud committed against

   Khazarov because, in fact, Star Capital owns no interest in Star Development.

             d. The development of “Project Boeuf” did not occur because Gelman, Star Equities

   and Firer did not contribute any capital, apply for financing, or obtain licensing from the Hilton

   due to Firer’s negative history.

             e.   There was no investigation commenced or even threatened against Oleg

   Khomenko. Firer and Gelman invented this story to divert Khazarov’s attention from their own

   wrongdoing. Finally, as neither Star Equities nor Gelman made any contributions to Star Capital,

   Khazarov alone has borne a loss.

          84.     On September 11, 2012, Khazarov signed papers to accept $420,000 for the sale of

   Linco’s interest in Star Capital. The papers were also false and misleading as they represented that

   Star Capital “owns equity in the 159,865 square foot (3.67 acre) parcel” on Groom’s Beach. In

   fact, Star Capital has no interest in the Land or in the company that took a deed to the land in

   January 2019, Star Development.

          85.     After Khazarov signed the papers, Star Equities quickly wired $420,000 to Linco.

   In this manner, Firer and Gelman sought to rid themselves of claims by Linco.

          86.     Besides the $250,000 loss on the investments in Unified Advance and the $60,000

   loss on the investment in Star Capital, Linco has sustained a total loss of its $600,000 investment

   in EZ Capital. Thus, Linco seeks to recover at least $910,000 in this lawsuit.

          87.     At all material times, Linco’s ten percent (10%) interest in an unmarketable,

   minority interest in EZ Capital has been devoid of value.

             a.   Linco has not received any return on its $600,000 investment made in 2017.

             b.


                                                   20
Case 1:20-cv-22234-JEM Document 59 Entered on FLSD Docket 03/25/2021 Page 21 of 33




              c.



                                                                                        .8

   First Half of 2020

           88.     By happenstance, in early 2020, Khazarov learned that another investor made a

   contribution of $840,000 to Star Development. This other investor, Leon Goldstein of Sunny Isles,

   was not disclosed to Khazarov by Gelman or Firer.

           89.     On his own, Khazarov learned that, on December 5, 2017, Goldstein sent to Star

   Equities his $840,000 contribution in Star Development. Goldstein’s contribution was

   commingled with Linco’s money and whatever was contributed by the Khomenkos in an account

   of Star Equities. 9

           90.     Upon information and belief, i.e., account statements provided by Star Equities in

   discovery in this action, Linco’s wire of $480,000 to Star Equities and the $840,000 contribution

   for Leon Goldstein in December 2017 were used to pay for the Land in January 2018.

           91.     After Linco and Goldstein learned that their investments with Star Equities and

   Gelman had been concealed from one other, each sought legal advice and counsel.

           92.     In April 2020, Linco’s counsel began to investigate the underlying facts. One aspect

   of the investigation was to request records from the Closely Held Companies, including Star



   8 Recently, an investor in VGF has sued to recover $474,000 loaned to VGF. Upon information
   and belief provided through a former employee of VGF, the amount in dispute is approximately
   seventy-five percent (75%) of VGF’s total portfolio investments. Further, VGF no longer has an
   office in Moscow and has terminated most of its employees.
   9The operating agreement for Star Development that identified contributions of only $1,000 by
   Firer and Gelman also showed a $1,000 contribution by each Khomenko brother.
                                                21
Case 1:20-cv-22234-JEM Document 59 Entered on FLSD Docket 03/25/2021 Page 22 of 33




   Capital, pursuant to Section 605.0410 of the Florida Statues. Star Capital refused for the reason

   that Linco supposedly was not a dissociated member of Star Capital.

           93.    Based upon facts learned in this investigation and the refusal of any of the Closely

   Held Companies to provide records or information to Linco, this lawsuit was filed on May 29,

   2020.

           94.    Linco has hired the undersigned attorneys to represent Linco in this action and has

   agreed to pay them reasonable fees for their services.

           95.    At all relevant times, a fiduciary relationship existed between Plaintiff and EZ

   Capital, and between Plaintiff and Star Capital, by virtue of Plaintiff being a member in the Closely

   Held Companies; a relationship in which Plaintiff put its trust to protect Plaintiff’s financial

   interests and the Closely Held Companies, acting through their respective managers Star Equities

   and Gelman, accepted that trust. Additionally, as a majority interest holder in the Closely Held

   Companies, Star Equities owed Plaintiff, a minority interest holder, a fiduciary duty of loyalty.

           96.    At all relevant times, Defendants have made representations, acknowledged, and/or

   manifested to Plaintiff that they are each other’s agents and have acted within the scope of their

   respective duties when made representations and misrepresentations as alleged herein. All of

   Plaintiff’s payments made to EZ Capital, Unified Advance, and to Star Equities, were as a result

   of Plaintiff’s reasonable belief in truthfulness of Defendants’ representations and/or manifestations

   that they are and were each other’s agents, and Plaintiff’s payments were an expression of

   Plaintiff’s change in its position.

                  COUNT I: VIOLATION OF THE SECURITIES EXCHANGE ACT OF 1934
                      15 U.S.C. § 78j(b); RULE 10b-5; 17 C.F.R. § 240.10b-5
                           [EZ CAPITAL, STAR CAPITAL, STAR EQUITIES]

           97.    Linco restates here its background allegations above.


                                                    22
Case 1:20-cv-22234-JEM Document 59 Entered on FLSD Docket 03/25/2021 Page 23 of 33




           98.     Between March 27, 2017 and November 16, 2017, on specific dates as more

   particularly alleged above, EZ Capital, Unified Advance, Star Capital, and Star Equities, sold

   Linco investments in a commercial and/or financial business enterprises with the expectation that

   profits or other gain would be produced by others. The membership units in the Closely Held

   Companies as well as “investor’s portfolio” in Unified Advance constitute securities.

           99.     Defendants EZ Capital, Star Capital, and Star Equities, and Unified Advance, sold

   Plaintiff investments using instrumentalities of interstate commerce, such as mails, telephone,

   Internet, and/or other form of electronic communication, in connection with the purchase or sale

   of the securities.

           100.    Defendants EZ Capital, Star Capital, Star Equities, and Unified Advance employed

   a device, scheme, or artifice to defraud – alleged in paragraphs 1–4, 21–27, 29–38; 40–45; and 46–

   87 – in connection with the purchase or sale of a security.

                   Alternatively, Defendants EZ Capital, Star Capital, Star Equities, and Unified

   Advance made a misrepresentation of a material fact, or omitted a material fact – alleged in

   paragraphs 1–4, 21–27, 29–38; 40–45; and 46–87 – in connection with the purchase or sale of a

   security.

                   Alternatively, Defendants EZ Capital, Star Capital, Star Equities, and Unified

   Advance engaged in an act, practice, or course of business – as alleged in paragraphs 1–4, 21–27,

   29–38; 40–45; and 46–87 in connection with the purchase or sale of a security – that operated or

   would operate as a fraud or deceit on any person.

           101.    Neither before, after, or at the time of signing the operating agreements and the

   Amendments for EZ Capital and Star Capital did the defendants accurately state the capital

   contributions by Gelman and Star Equities to any of the Closely Held Companies. These


                                                   23
Case 1:20-cv-22234-JEM Document 59 Entered on FLSD Docket 03/25/2021 Page 24 of 33




   misrepresentations and omissions were made to induce Linco to purchase securities that had little

   to no value because the capital contributions that the defendants never made left the Closely Held

   Companies undercapitalized and without the assets and infrastructure falsely represented to be in

   place. As a result, the securities purchased by Linco were devoid of value. The purchase by Star

   Equities of Linco’s interest in Star Capital was not an arm’s length sale nor an indication of value.

   Instead, Star Equities paid for Linco’s interest in Star Capital with the hope that by reducing

   Linco’s losses on Star Capital, Khazarov would forego legal action.

          102.    As the representations and omissions concerned contributions to the Closely Held

   Companies by Star Equities, a company that Firer controls, he certainly knew whether or not Star

   Equities had contributed $3,408,000 to the Closely Held Companies. At the minimum, Firer was

   severely reckless. Given the close relationship between Firer and Gelman, Firer likely knew the

   false and misleading nature of Gelman’s misrepresentations and omissions about his contributions.

   The contradictory statements in the tax returns that negate the alleged contributions by Star

   Equities and Gelman to EZ Capital and Unified Advance can be imputed against Firer who was

   the Tax Matters Partner according to the operating agreements for these companies and acting in

   concert with Gelman.

          103.    The defendants Firer, EZ Capital, Star Capital, and Star Equities acted knowingly

   or with severe recklessness in manipulating Plaintiff into purchasing the securities in the Closely

   Held Companies, and then manipulating Linco into selling the securities in Star Capital to Star

   Equities.

          104.    A strong inference of the defendants’ fraudulent intent may be found in the

   circumstantial evidence of conscious misbehavior, including (a) the failure to disclose that

   unregistered securities could not be sold to Linco except in a transaction exempt under the


                                                    24
Case 1:20-cv-22234-JEM Document 59 Entered on FLSD Docket 03/25/2021 Page 25 of 33




   securities laws, (b) the desire of Gelman and Firer that Khazarov not discuss his investments in

   the Closely Held Companies with Roman Khomenko accompanied by the concealment of Roman

   Khomenko’s investments in EZ Capital and Unified Advance by the defendants; (c) the

   underhanded manner in which Gelman obtained a general release for himself and Unified Advance

   by asking Khazarov to step into a car and sign a general release, after dinner, at 11:00 p.m., to

   obtain $150,000 for a specific investment portfolio; (d) the misrepresentations and omissions of

   the defendants to induce Khazarov to take only $420,000 for Linco’s investment in Star Capital

   and forego legal action based upon the earlier misrepresentations and omissions about Star

   Capital’s interest in Star Development, the contributions by Star Equities and Gelman to Star

   Capital, and the date and price of the Land acquisition; (e) the filing of tax papers that do not

   identify the members of EZ Capital and Unified Advance and the failure to file any tax returns for

   Star Capital and the failure of Firer, as the Tax Matters Partner for at least EZ Capital and Unified

   Advance to see that tax information was provided to Khazarov; and (f) the refusal of Star Capital

   to permit Linco to inspect records of Star Capital.

          105.    Further evidence of fraudulent intent exists in the motive and opportunity for Firer

   to make the misrepresentations and omissions. Firer knew that lies about the capital contributions

   of Star Equities and Gelman would assure Khazarov that the investments were being made with

   adequately capitalized companies. The reward for this fraud was that Star Equities directly

   received $780,000 of Linco’s money. Firer had the opportunity to commit this fraud due to the

   youth and inexperience of Khazarov who was impressed by the defendant’s position in business

   and the world of diplomacy, and, therefore, prone to being inveigled by Firer and his sidekick who

   sung Firer’s praises to Khazarov.

          106.    Had Plaintiff known of EZ Capital, Star Capital, Star Equities, and Unified


                                                    25
Case 1:20-cv-22234-JEM Document 59 Entered on FLSD Docket 03/25/2021 Page 26 of 33




   Advance’s misstatements as to capital contributions and/or omission of truth regarding capital

   contributions, and had Plaintiff known that Defendants EZ Capital, Star Capital, Star Equities and

   Unified Advance could not lawfully sell unregistered securities to Plaintiff in non-exempt

   transactions without prior registration, Plaintiff would not have purchased any of the securities.

   Put another way, a reasonable investor, like Plaintiff, would view the misstated or omitted fact’s

   disclosure as significantly altering the total mix of available information.

          107.    Plaintiff justifiably relied on Defendants’ misrepresentations and omissions

   concerning the securities, taking into consideration:

                      •   Plaintiff’s unsophistication in matters involving finance and securities;

                      •   Existence of a fairly short-term business and personal relationship between

                          Plaintiff’s principal and Defendant Firer;

                      •   Plaintiff’s lack of independent access to information concerning Gelman

                          and Star Equities’ capital contributions into the Closely Held Companies,

                          and omissions concerning non-exempt status of the unregistered securities;

                      •   Defendants EZ Capital, Star Capital, and Star Equities, owed a fiduciary

                          duty to Plaintiff by virtue of Plaintiff’s membership in the Closely Held

                          Companies;

                      •   Defendants EZ Capital, Star Capital, and Star Equities concealed the

                          misrepresentations and/or omissions regarding capital contributions and/or

                          regarding the fact that Plaintiff is purchasing securities which must have

                          been registered with the Securities and Exchange Commission, but in fact

                          were not; and

                      •   Defendants EZ Capital, Star Capital, and Star Equities initiated the stock


                                                    26
Case 1:20-cv-22234-JEM Document 59 Entered on FLSD Docket 03/25/2021 Page 27 of 33




                          transactions and/or sought to expedite them.

          108.    As a proximate result of the defendants’ deception and/or manipulation in

   connection with the purchase and sale of securities, Plaintiff received worthless, unregistered

   securities in non-exempt transactions conducted over a nine-month period. In return, the

   defendants took capital contributions from Linco in the amount of $1,480,000. The defendants

   added no capital contributions of their own. Instead, the defendant misused Linco’s contributions

   in business enterprises operated for the benefit of Firer, Gelman, and affiliated persons. The

   securities were worthless because without contributions from the defendants, there was no means

   to grow the business of any of the Close Held Companies. Because the defendants have returned

   only $570,000, Linco has suffered out-of-pocket losses in the amount of at least $910,000.

          109.    Defendants EZ Capital, Star Capital, and Star Equities’ deception and/or

   manipulation in connection with the purchase and sale of securities was proximately responsible

   for Plaintiff’s loss. As stated in paragraphs 1–4, 21–27, 29–38; 40–45; and 46–87, Defendants’

   lies about capitalization, and failures to contribute capital as and when represented, and the failure

   to obtain the requisite license to own shares in Star Development Limited, the company owning

   Project Beouf land in Grenada, collapsed the operations of EZ Capital and Star Capital, and with

   that collapsed Plaintiff’s investment.

                           COUNT II: LIABILITY OF CONTROLLING PERSONS
                                           15 USC § 78t
                                              [FIRER]

          110.    Plaintiff restates the allegations in paragraphs 1 through 96 entirely.

          111.    Defendants EZ Capital, Star Capital, Star Equities committed a primary violation

   of the Exchange Act of 1934 as more specifically alleged in Count I.

          112.    By virtue of being the manager(s) of the Closely Held Companies and of Star


                                                    27
Case 1:20-cv-22234-JEM Document 59 Entered on FLSD Docket 03/25/2021 Page 28 of 33




   Equities, the defendants sued in this count had the power to control the general business affairs of

   the Closely Held Companies and Star Equities, and had the power to directly control or influence

   the specific company policies that created the scheme and/or that resulted in the sale of securities

   to Plaintiff as alleged above.

          113.    Defendant Firer had control over all essential aspects of the statements made in the

   operating agreements of the Closely Held Companies, including those misrepresenting the capital

   contributions into the Closely Held Companies.

          114.    Defendant Firer had control over the bank accounts of the Closely Held Companies

   and Star Equities, which received funds from Plaintiff’s principal, and which remitted funds to

   Plaintiff, in connection with the sales and purchases of the securities.

          115.    As a direct and proximate result of Defendants’ deception and/or manipulation in

   connection with the purchase and sale of securities in the Closely Held Companies, Plaintiff

   purchased $1,693,000.00 worth of unregistered securities in a nine-month period and suffered

   economic losses in the amount to be proven at trial.

                  COUNT III: VIOLATION OF THE FLORIDA’S SECURITIES INVESTOR
                        PROTECTION ACT FLA. STAT. §§ 517.011 ET SEQ.
                                      [ALL DEFENDANTS]

          116.     Plaintiff restates the allegations in paragraphs 1 through 96, and 98 through 109.

          117.    Defendants EZ Capital, Star Capital, and Star Equities acted at least negligently in

   manipulating Plaintiff into purchasing securities in the Closely Held Companies, and then in

   manipulating Plaintiff into selling securities in Star Capital.

          118.    Any agent of seller which has personally participated in sale of security is liable for

   FSIPA violations, whether agent is corporation, partnership, or natural person. Defendants Star

   Equities, and Firer, as persons directors, officers, partners, or agents of the Closely Held


                                                     28
Case 1:20-cv-22234-JEM Document 59 Entered on FLSD Docket 03/25/2021 Page 29 of 33




   Companies, are jointly and severally liable to Plaintiff.

                         COUNT IV: ENFORCEMENT OF RIGHT TO INSPECTION
                           OF BOOKS AND RECORDS FLA. STAT. § 605.0411
                                        [STAR CAPITAL]

            119.   Plaintiff restates the allegations in paragraphs 1 through 96 entirely.

            120.   Pursuant to section 605.0602 of the Florida Statutes, Plaintiff is a dissociated

   member of Star Capital, because on or about September 12, 2019, Star Capital had notice of

   Plaintiff’s express will to withdraw as a member, as more particularly stated in paragraphs 81–84,

   above.

            121.   On April 21, 2020, Plaintiff made a written request to Star Capital for inspection of

   books and records in compliance with Fla. Stat. § 605.0410 – describing with reasonable

   particularity the information sought, the purpose for seeking such, and how it was directly

   connected to such purpose – to determine Plaintiff’s right as a dissociated member, concerning

   entitlement, and ownership value of and in Star Capital and in Unified Advance while a member.

            122.   Defendant Star Capital, also in writing, unlawfully denied Plaintiff’s right for

   inspection provided by Chapter 605 of the Florida Statutes.

                            COUNT V: FRAUDULENT MISREPRESENTATION
                         [EZ CAPITAL, STAR CAPITAL, STAR EQUITIES, FIRER]

            123.   Plaintiff restates the allegations in paragraphs 1 through 96 entirely.

            124.   Defendants sued in this count made false statements concerning a material fact. As

   more specifically stated in paragraphs 1–4, 21–27, 29–38; 40–45; and 46–87, Defendants’ lies

   about capitalization, and failures to contribute capital as and when represented, and the failure to

   obtain the requisite license to own shares in Star Development Limited, the company owning

   Project Beouf land in Grenada, collapsed the operations of EZ Capital, Unified Advance, and of

   the Star Capital, and with that collapsed Plaintiff’s investments into these companies.

                                                     29
Case 1:20-cv-22234-JEM Document 59 Entered on FLSD Docket 03/25/2021 Page 30 of 33




          125.    Defendants knew the statements were false when they made them.

          126.    Defendants intended that Plaintiff would rely on these false statements so that

   Plaintiff would invest its money into Closely Held Companies believing that the other interest-

   holders, including Star Equities, would have their own funds at risk, or “skin in the game.”

          127.    Plaintiff reasonably relied on Defendants false statements, since the falsity could

   have not been discovered by Plaintiff, because the knowledge about capital contributions was in

   Defendants’ sole possession and/or control.

          128.    The false statements were a legal cause of Plaintiff’s financial losses of at least

   $910,000.00, all stemming from the purchases of units in the Closely Held Companies and

   purchases of the investor’s or investment portfolios sold to Plaintiff by EZ Capital, Unified

   Advance, and Star Equities.

          129.    Based upon the intentional misconduct underlying the claim for relief made in this

   count, the defendants are liable for punitive damages.

                 COUNT VI: JUDICIAL DISSOLUTION OF EZ CAPITAL FUND LLC AND
                  APPOINTMENT OF A RECEIVER, FLA. STAT. §§ 605.0702, 605.0703

          130.    Plaintiff restates the allegations in paragraphs 1 through 96.

          131.    This direct action by Plaintiff as a minority member is brought pursuant to section

   605.0702 of the Florida Statutes for judicial dissolution of EZ Capital and for other ancillary,

   equitable and injunctive relief. Due to the conduct of the majority interest owners that is

   fraudulent, it is not reasonably practicable to carry on the business of EZ Capital in conformity

   with the operating agreement, so that dissolution of EZ Capital is justified pursuant to section

   605.0702 of the Florida Statutes.

          132.    Defendant Star Equities and Gelman’s who were and are in control of EZ Capital

   have acted, and are acting, in a manner that is illegal and fraudulent, causing injury to Plaintiff,

                                                    30
Case 1:20-cv-22234-JEM Document 59 Entered on FLSD Docket 03/25/2021 Page 31 of 33




   which conduct includes:

                  (a)      lying to Plaintiff in the operating agreement and amendment thereto about

                  the amounts of Gelman's and Star Equities’ financial contributions into EZ Capital;

                  and/or

                  (b)      concealing from Plaintiff that membership units in EZ Capital were

                  unregistered non-exempt securities, and that EZ Capital functions as an illicit

                  fundraising scheme in derogation to Federal and Florida securities law, as more

                  particularly alleged in previous counts.

          133.    The above-described conduct of Defendant Star Equities and Gelman’s is at the

   basis of illegality of EZ Capital’s substantially all activities, and/or conduct by controlling

   members towards Plaintiff that is illegal or fraudulent. Because of this conduct, Plaintiff no longer

   trusts Defendant Star Equities and/or Gelman. Without this trust, it is no longer practicable to carry

   on the business of EZ Capital.

          WHEREFORE, Plaintiff Linco Enterprises LLC respectfully requests the Honorable

   Court as follows:

          (a)     Rescind the operating agreement between Plaintiff and EZ Capital Fund LLC and

   order the return of $600,000.00 paid as consideration for purchase of the membership units in EZ

   Capital Fund LLC, together with prejudgment interest on same amount;

          (b)     dissolve Defendant EZ Capital Fund LLC pursuant to section 605.0702, and appoint

   a custodian to manage the business affairs of Defendant EZ Capital Fund LLC pursuant to section

   605.0703(4) of the Florida Statutes;

          (c)     Award Plaintiff actual damages arising out of purchase and sale of membership

   units in Star Capital Management LLC in the amount to be proven at trial but no less than


                                                    31
Case 1:20-cv-22234-JEM Document 59 Entered on FLSD Docket 03/25/2021 Page 32 of 33




   $60,000.00, together with prejudgment interest;

           (d)    Award Plaintiff actual damages for fraudulent misrepresentation arising out of

   purchase and sale of membership units and of investment portfolio in Unified Advance LLC in the

   amount to be proven at trial but no less than $250,000.00, together with prejudgment interest;

           (e)    Award Plaintiff such additional damages, over and above the amount of their actual

   damages, including, without limitation punitive damages that are authorized and warranted by law;

           (f)    Order EZ Capital Fund LLC, and Star Capital Management LLC to provide

   accounting and settlement of claims and liabilities arising out of their fiduciary relationship with

   Plaintiff;

           (g)    Order Star Capital Management LLC to provide copies of books and records in

   compliance with Fla. Stat. § 605.0410;

           (h)    Award Plaintiff court costs and attorney’s fees pursuant to Fla. Stat. §§ 517.211,

   and 605.0411; and

           (i)    Award such other relief as this Court deems just and appropriate, including, without

   limitation nominal damages.

                                        Respectfully submitted,

    Co-Counsel for the Plaintiff                      Co-Counsel for the Plaintiff

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    By:     /s Sergiu Gherman                         By:    /s Paul Aiello
            Sergiu Gherman, FBN 37031                        Paul Aiello, FBN 0909033




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Case 1:20-cv-22234-JEM Document 59 Entered on FLSD Docket 03/25/2021 Page 33 of 33




                                       CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on March 25, 2021 the foregoing document is being served this

   day on all counsel or pro se parties identified below in the manner specified, either via transmission

   of Notices of Electronic Filing generated by CM/ECF or in some other authorized manner for those

   counsel or parties who are not authorized to receive electronically Notice of Electronic Filing.


                                                                By:      /s/ Sergiu Gherman
                                                                      Sergiu Gherman, FBN 37031




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